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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE                       )
COMMISSION,                                   )
                                              )
         Plaintiff,                           )
                                              )      Case No.: 1:18-cv-02844-RDB
v.                                            )
                                              )
KEVIN B. MERRILL, et al.,                     )
                                              )
         Defendants.                          )


             ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL
        OF TENTH INTERIM FEE APPLICATION OF HUSCH BLACKWELL LLP

         Before the Court is the Receiver’s Motion for Approval of Tenth Interim Fee Application

of Husch Blackwell LLP (the “Motion”). Having considered the Motion, and any responses or

objections thereto, the evidence presented, and arguments of counsel, if any, the Court finds that

the time spent, services performed, hourly rates charged, and expenses incurred by Husch

Blackwell LLP on behalf of the Receivership Estate were reasonable and necessary for the

Receiver to perform his Court-ordered duties. The Court, having reviewed the Motion, is of the

opinion that the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $127,379.22 for the fees and

expenses incurred between January 1, 2021 and March 31, 2021 is approved.

Signed this ____ day of ________________, 2021.




                                             RICHARD D. BENNETT
                                             UNITED STATES DISTRICT COURT JUDGE




HB: 4835-4216-2157.2
